                  Case 2:17-cv-00234-RSL Document 1 Filed 02/15/17 Page 1 of 3



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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7                                       AT SEATTLE
8

9                                                    )       Case No.: 2:17-cv-234
                                                     )
10                                                           COMPLAINT;
     TAMMERA GUNNING,                                )
11
                                                     )       FAIR DEBT COLLECTION PRACTICES
        Plaintiff,                                   )       ACT (15 U.S.C. § 1692a, et seq.);
12                                                   )
            vs.                                      )       DEMAND FOR JURY TRIAL
13                                                   )
14   ALLIANCEONE RECEIVABLES                         )
     MANAGEMENT, INC.,                               )
15                                                   )
                                                     )
16
        Defendant.
17
                                           I. INTRODUCTION
18
            1.       This is an action for damages brought by an individual consumer for Defendant’s
19

20   violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter

21   “FDCPA”).
22
                                           II. JURISDICTION
23
            2.       Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. § 1692k(d),
24
     and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.
25

26                                            III. PARTIES
27          3.       Plaintiff, Tammera Gunning (“Plaintiff”), is a natural person residing in Skagit
28

       COMPLAINT                                                            Trigsted Law Group, P.C.
       Case No.                                                             5200 SW Meadows Rd, Ste 150
                                                                            Lake Oswego, OR 97035
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                  Case 2:17-cv-00234-RSL Document 1 Filed 02/15/17 Page 2 of 3



1    County, Washington.
2
             4.      Defendant, AllianceOne Receivables Management, Inc. (“Defendant”), is a
3
     corporation engaged in the business of collecting debts by use of the mails and telephone.
4
     Defendant regularly attempts to collect debts alleged due another.
5

6                                    IV. FACTUAL ALLEGATIONS

7            5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).
8
             6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).
9
             7.      All activities of Defendant set out herein were undertaken in connection with the
10

11
     collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

12           8.      Within the last year, Defendant took multiple actions in an attempt to collect a debt
13   from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including the following.
14
             9.      Falsely representing the amount, character, or legal status of any debt, including
15
     falsely representing Plaintiff owes a debt she does not owe for her stepdaughter’s dental bill;
16

17   Plaintiff explained to Defendant in a phone call that she was not married to the girl’s father who

18   received the services when they were received and that she is not the girl’s mother, and Defendant
19
     responded by threatening to continue collecting until Plaintiff proved these things (§ 1692e(2)(A)
20
     & e(5)).
21
             10.     As a result of the aforementioned violations, Plaintiff suffered and continues to
22

23   suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

24   severe emotional distress.
25
             11.     Defendant intended to cause, by means of the actions detailed above, injuries to
26
     Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe emotional
27

28
     distress.

       COMPLAINT                                                          Trigsted Law Group, P.C.
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                 Case 2:17-cv-00234-RSL Document 1 Filed 02/15/17 Page 3 of 3



1           12.     Defendant’s actions, detailed above, were undertaken with extraordinary disregard
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     of, or indifference to, known or highly probable risks to purported debtors.
3
            13.     To the extent Defendant’s actions, detailed in paragraphs 8-15, were carried out by
4
     an employee of Defendant, that employee was acting within the scope of his or her employment.
5

6                 COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

7           14.     Plaintiff reincorporates by reference all of the preceding paragraphs.
8
            15.     The preceding paragraphs state a prima facie case for Plaintiff and against
9
     Defendant for violations of the FDCPA.
10

11
                                         PRAYER FOR RELIEF

12          WHEREFORE, Plaintiff respectfully prays that judgment be entered against the Defendant
13   for the following:
14
            A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;
15
            B.      Actual damages pursuant to 15 U.S.C. 1692k;
16

17          C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

18          D.      Costs, disbursements and reasonable attorney’s fees for all successful claims, and
19
     any unsuccessful claims arising out of the same transaction or occurrence as the successful claims,
20
     pursuant to 15 U.S.C. § 1692k; and,
21
            E.      For such other and further relief as may be just and proper.
22

23                        PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

24

25
                                                      Dated this 15th day of February, 2017.
26

27                                                        By:__s/Joshua Trigsted____
                                                          Joshua Trigsted, WSBA#42917
28                                                        Attorney for Plaintiff
       COMPLAINT                                                        Trigsted Law Group, P.C.
       Case No.                                                         5200 SW Meadows Rd, Ste 150
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